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                                         UNITED STATES DISTRICT COURT
                                              NORTHERN DISTRICT OF OKLAHOMA
        (1) Keahmiee Moses (2) Tyler Rentie
                              Plaintiff(s)

vs.                                                                        Case Number: 4:16-cv-00303-CVE-PJC

        (1) Paul Forkeotes, et al.
                            Defendant(s)

                                             CORPORATE DISCLOSURE STATEMENT

Pursuant to Fed.R.Civ.P. 7.1, which states:
              A nongovernmental corporate party to an action or proceeding in a district court must file
              a statement that identifies any parent corporation and any publicly held corporation that
              owns 10% or more of its stock or states that there is no such corporation.


                                                     London Square-MBD, LLC
                                                         [name of party]

who is a (check one)                   PLAINTIFF    ✔   DEFENDANT           in this action, makes the following disclosure:


1.         Is party a publicly held corporation or other publicly held entity?
                     (Check one)             YES    ✔   NO

2.         Does party have any parent corporations?
                     (Check one)             YES    ✔   NO
           If YES, identify all parent corporations, including grandparent and great-grandparent corporations:




3.         Is 10% or more of the stock of party owned by a publicly held corporation or other publicly held
           entity?
                     (Check one)             YES    ✔   NO
           If YES, identify all such owners:




 Corporate Disclosure Statement                                 1                                                CV-24 (04/07)
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4.         Is there any other publicly held corporation or other publicly held entity that has a direct
           financial interest in the outcome of the litigation?
                     (Check one)            YES     ✔   NO
           If YES, identify entity and nature of interest:




5.         Is party a trade association?
                     (Check one)            YES     ✔   NO
           If YES, identify all members of the association, their parent corporations, and any publicly held
           companies that own 10% or more of a member’s stock:




DATED this 1st                day of June         , 20 16 .

                                                              /s/ Drew A Lagow
                                                              Signature
                                                              Drew A. Lagow                         22618
                                                              Printed Name                               Bar Number
                                                              Holden & Carr
                                                              Firm Name
                                                              15 E. 5th Street, Ste. 3900
                                                              Address
                                                              Tulsa                                 OK       74103
                                                              City                                  State    ZIP
                                                              918-295-8888                  918-295-8889
                                                              Phone                           Fax
                                                              DrewLagow@holdenlitigation.com
                                                              Email Address




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                                          CERTIFICATE OF SERVICE

I hereby certify that on the 1st day of June, 2016   (Date), I electronically transmitted the foregoing document to
the Clerk of Court using the ECF System for filing and transmittal of a Notice of Electronic Filing to the following ECF
registrants (names only are sufficient):
Damon E. Sacra, OBA #21345
Benjamin Oxford, OBA #22259
Andrew L. Richardson, OBA #16298
Lance E. Leffel, OBA #19511




I hereby certify that on                             (Date), I served the same document by
        U.S. Postal Service             In Person Delivery
        Courier Service                 E-Mail
on the following, who are not registered participants of the ECF system:




Name(s) and Address(es):




                                                         /s/ Drew A. Lagow
                                                          Signature




Corporate Disclosure Statement                               3                                                 CV-24 (04/07)
